                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                  NORTHERN DIVISION

 CORA GOUDY,

        Plaintiff,

 -vs-                                                CASE NO.: 3:19-CV-00068

 VANDERBILT MORTGAGE AND
 FINANCE, INC.,

        Defendant.
                                      /


                           NOTICE OF VOLUNTARY DISMISSAL

           COMES NOW, the Plaintiff, CORA GOUDY, by and through her undersigned attorney,

 and hereby files this Notice of Voluntary Dismissal, of the above captioned matter.

                                                       Respectfully Submitted,

                                                       /s/Frank H. Kerney, III, Esquire
                                                       Frank H. Kerney, III, Esquire
                                                       Tennessee Bar #: 035859
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                                                       Counsel for Plaintiff




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                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 28th day of February, 2019, the foregoing Notice of

 Voluntary Dismissal was filed electronically in accordance with the Court’s guidelines, using the

 Court’s CM/ECF system, and a copy of which was served via electronic mail to all parties of

 record.



                                                     /s/Frank H. Kerney, III, Esquire
                                                     Frank H. Kerney, III, Esquire
                                                     Morgan & Morgan, Tampa, P.A.
                                                     Counsel for Plaintiff




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